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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
v.                                          ) No. 1:20-cr-00211-JPH-MJD
                                            )
TRAVIS LEE BEECHLER,                        ) -01
                                            )
                       Defendant.           )

                  ORDER DENYING MOTION TO SUPPRESS

      Defendant, Travis Beechler, has moved to suppress certain evidence from

being admitted at his trial. He describes this evidence as "contraband illegally

seized" from his person and "the home in which [he] was residing at the time of

his arrest." Dkt. [44] at 1. For the reasons that follow, Mr. Beechler's motion

is DENIED.

                                       I.
                              Facts & Background

      Because Mr. Beechler has not contested the government's evidence and

has not designated his own evidence, the following facts are treated as

undisputed unless otherwise noted. See United States v. Juarez, 454 F.3d 717,

719–20 (7th Cir. 2006) (finding no evidentiary hearing required on motion to

suppress unless defendant "provide[s] sufficient information to enable the court

to conclude that a substantial claim is presented and that there are disputed

issues of material fact which will affect the outcome of the motion"); United




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States v. Clark, 935 F.3d 558, 568 (7th Cir. 2019) ("[T]he burden is on the

defendant to support his motion to suppress.").

      On August 3, 2020, Mr. Beechler and his girlfriend, Kimia Turner, were

both on Marion County Community Corrections ("MCCC") home detention.

Dkt. 44 at 2. Their Home Detention Contracts contained the following

provision:

      You waive your rights under the Fourth Amendment of the United
      States Constitution, as well as Article I, Section 11 of the Indiana
      Constitution, regarding search and seizure of your person or
      effects. Furthermore, you shall permit law enforcement, MCCC
      staff, and/or their contracted vendor, as well as any law
      enforcement officer acting on MCCC’s behalf, to search your
      person, residence, motor vehicle, or any location where your
      personal property may be found, to insure compliance with the
      requirements of MCCC or their contracted vendor.

Dkt. 46 at 3; dkt. 46-1; dkt. 46-3.

      MCCC received information that Mr. Beechler was residing at Ms.

Turner's residence, rather than the address he originally provided to MCCC.

Dkt. 46 at 2. MCCC also had reason to believe that Mr. Beechler was involved

in drug trafficking activity. Id. at 2–3.

      During the early morning hours of August 3, MCCC and officers from the

Indianapolis Metropolitan Police Department ("IMPD") executed a compliance

check at Ms. Turner's residence at 2041 East Legrande Avenue, Indianapolis,

Indiana (the "Residence"). Dkt. 46 at 3.

      Upon arriving at the Residence, MCCC employee Jill Jones was let inside

by Ms. Turner. Dkt. 46 at 4. Once inside, Ms. Jones spoke to Mr. Beechler,

who admitted that he lived at the Residence. Id. Ms. Jones then began a


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compliance check of the bedroom and common areas. Id. Once inside the

bedroom, Ms. Jones discovered a large bag containing what she suspected to

be methamphetamine on a small nightstand in the closet. Id. She also found a

plastic bag containing what she believed to be black tar heroin in the hallway.

Id. IMPD officers then obtained a search warrant for the Residence. Dkt. 46-6;

dkt. 46 at 4. As a result of that search, officers seized five firearms and

additional evidence of drug trafficking. Dkt. 46 at 4.

      Mr. Beechler is charged with two counts of Possession with Intent to

Distribute Controlled Substances; Possession of a Firearm in Furtherance of a

Drug Trafficking Crime; and Possession of a Firearm by a Previously Convicted

Felon. Dkt. 32. Mr. Beechler has moved to suppress the evidence recovered

from the Residence on August 3. Dkt. 44.

                                       II.
                                 Applicable Law

      The Fourth Amendment protects "[t]he right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures." U.S. CONST. amend. IV. "To determine the reasonableness of a

search under the Fourth Amendment, we look at the totality of the

circumstances, balancing the degree to which the search intrudes on individual

liberty and the degree to which it promotes legitimate governmental interests."

United States v. White, 781 F.3d 858, 862 (7th Cir. 2015). The exclusionary

rule may be used as a remedy where a search is found to have been




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unreasonable in violation of the Fourth Amendment. See Utah v. Strieff, 136 S.

Ct. 2056, 2061 (2016).

                                      III.
                                  Discussion

      As the government concedes, dkt. 46 at 7, Mr. Beechler has standing to

bring this motion. While he refers to himself as an "overnight guest" at the

Residence, dkt. 44 at 2, he informed MCCC employees during the search that

he lived at the Residence, dkt. 46 at 7. Either way, Mr. Beechler has standing

to challenge the lawfulness of the search. See Minnesota v. Olson, 495 U.S. 91

(1990).

      Mr. Beechler argues that the community corrections compliance check

conducted on August 3 was a "law enforcement action disguised" as a

compliance check and a warrantless search that violated his Fourth

Amendment rights. Dkt. 44 at 1–2. The government responds that the

warrantless search was lawful because Mr. Beechler "fully waived" his Fourth

Amendment rights under his Home Detention Contract. Dkt. 46 at 7, 10.

      While the Court applies federal Fourth Amendment law to decide whether

the search was reasonable, the "analysis is shaped" by Indiana law because

that governed the terms of Mr. Beechler's community corrections home

detention. See White, 781 F.3d at 861. Under Indiana law, a "probationer or

community corrections participant may, pursuant to a valid search condition

or advance consent, authorize a warrantless premises search without

reasonable suspicion." State v. Vanderkolk, 32 N.E.3d 775, 780 (Ind. 2015).


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For the search to be reasonable, the contract must "clearly express[] the search

condition" and "unambiguously inform the defendant of it." Id. at 779.

      Here, Mr. Beechler signed a MCCC Home Detention contract waiving his

Fourth Amendment rights "regarding search and seizure of [his] person or

effects." Dkt. 46-3. The waiver did not limit his consent to searches based on

reasonable suspicion or probable cause. Cf. Vanderkolk, 32 N.E.2d at 780

(finding search unlawful because defendant had only consented to "search

upon probable cause"). Instead, Mr. Beechler unambiguously waived his

Fourth Amendment rights against search and seizure to ensure compliance

with the requirements of community corrections. See dkt. 46-3; see also

United States v. Pearson, 1:18-cr-295-JMS-TAB, 2019 WL 1440875, at *5 (S.D.

Ind. Apr. 1, 2019). The search of the Residence "fell squarely within the terms

of the conditions of" Mr. Beechler's home detention and was reasonable under

federal constitutional standards. White, 781 F.3d at 864.

      Because Mr. Beechler's Home Detention Contract "clearly expressed the

search condition" and "unambiguously informed" Mr. Beechler that he had

waived his Fourth Amendment rights against search and seizure, Mr. Beechler

has not shown that the warrantless search conducted pursuant to the Home

Detention Contract was unreasonable in violation of the Fourth Amendment.

See Vanderkolk, 32 N.E.2d at 778.

      Last, while Mr. Beechler frames his motion to suppress as a challenge to

a warrantless search, dkt. 44 ¶ 3, the firearms and additional evidence of drug

trafficking were recovered pursuant to a search warrant, dkt. 46-6. Because


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Mr. Beechler has not challenged the validity of that warrant, the motion to

suppress is also denied on that basis with respect to the firearms and other

evidence of drug trafficking. See United States v. Longmire, 761 F.2d 411, 417

(7th Cir. 1985) ("[i]f the search . . . was effected pursuant to a warrant, the

defendant bears the burden of proving its illegality"); see also United States v.

Searcy, 664 F.3d 1119, 1124 (7th Cir. 2011).

                                       IV.
                                    Conclusion

      For the reasons discussed above, Mr. Beechler's motion, dkt. [44], is

DENIED.

SO ORDERED.

 Date: 5/25/2021




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